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                                                                                                                April 23, 2020
U.S. Foreign Assistance: Budget Development and Execution
U.S. foreign assistance provided through Department of          those specific to SFOPS, such as the 653(a) Report, country
State, Foreign Operations, and Related Programs (SFOPS)         funding directives, and certain congressional notifications.
appropriations is subject to a high level of congressional
input, as mandated under the Foreign Assistance Act of          Budget Development and Request
1961 (FAA, P.L. 87-195), as amended. Congress works             The budget request that the President submits to Congress
with the relevant executive agencies through a distinctive      is the product of an 18-month negotiation process among
executive-congressional process to allocate assistance,         OUs, budget offices, State/F, and OMB.
especially allocations by country in Titles III and IV. The
process described in this product is particular to SFOPS        Mission/Bureau Resource Request (begins two years
assistance and focuses especially on the executive branch       prior to fiscal year start). An OU initiates budget planning
and congressional oversight. More information on                by developing an explanation of its strategic priorities for
appropriations is at https://www.crs.gov/iap/appropriations.    the fiscal year and the human and financial resources
                                                                needed to achieve them. These proposals serve as the basis
Key Actors                                                      for the agency-wide budget requests that administering
Several entities across the executive and legislative           bureaus negotiate with budget offices, which then submit
branches play formal decisionmaking roles in the process:       them to OMB. One year before the start of the fiscal year,
                                                                OMB sends agencies’ budget requests back to agencies,
Office of Management and Budget (OMB): Part of the              requesting revised funding levels that align with the
Executive Office of the President, OMB formulates funding       President’s budget priorities in a step known as “passback.”
proposals and oversees federal spending to align with the       State and USAID negotiate between OMB and OUs to align
President’s priorities.                                         their budgets with the President’s priorities.

State Bureau of Budget and Planning (State/BP) and              President’s Budget and Congressional Budget
U.S. Agency for International Development (USAID)               Justification (CBJ) (early February prior to fiscal year
Office of Budget and Resource Management                        start). OMB submits the President’s Budget, the
(USAID/BRM): These budget offices coordinate budget             Administration’s annual budget request, to Congress (31
development between operating units and OMB, focusing           U.S.C. §1105) after negotiating funding levels with
on legal and administrative issues. They administer account     agencies. State publishes its own CBJ on the same day,
funding once it is appropriated.                                which articulates requested budget needs and proposed
                                                                activities. State issues annexes providing detailed country-
Office of Foreign Assistance Resources (State/F): Based         level account breakdowns after publishing the CBJ, usually
in the State Department (State) and staffed by USAID and        several weeks later (FAA Section 634, 22 U.S.C. §2394).
State personnel, State/F sets overall strategy for U.S.
foreign assistance and steers funding to advance those          Budget Consideration and Enactment
goals, coordinating between operating units and OMB.            Appropriations Act/Conference Report/Joint
                                                                Explanatory Statement (required before start of fiscal
Administering Bureau: For each account, a select State or       year). With the President’s Budget, the CBJ, and
USAID bureau is designated to coordinate budget requests        Administration officials’ budget hearings, Congress
and administer funds after they are appropriated.               formulates annual SFOPS appropriations. Titles III and IV
                                                                of the bill set account appropriations, and Title VII,
Operating Units (OUs): Over 200 headquarters bureaus            “General Provisions,” includes funding directives for
and overseas posts (including missions and embassies)           certain countries. An accompanying conference report or a
submit budget proposals to their parent agencies and            Joint Explanatory Statement (JES) includes “allocation
ultimately oversee the expenditure of appropriations.           tables” designating account breakdowns for country
                                                                funding directives. In recent years, Congress has included a
Relevant Committees: The Appropriations Committees of           provision in SFOPS (Section 7019 of the FY2020 Act)
the House and Senate, the Senate Foreign Relations              barring the Administration from deviating below funding
Committee, and the House Foreign Affairs Committee each         levels in these allocation tables by more than 10% without
contribute to foreign assistance allocation decisions.          congressional consultation.

Budget Process                                                  653(a) Report (sent to Congress 30 days after
The process described here is a composite of government-        appropriations enacted, as required by the FAA). State/F,
wide budget procedures, such as the President’s Budget,         State/BP, and USAID/BRM develop a comprehensive table
congressional appropriations, and OMB authorities, and          that satisfies the funding directives and allocation tables set

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by Congress, then allocates remaining funds as agencies            Reporting Spending (February following fiscal year end).
determine (FAA Section 653(a), 22 U.S.C. §2413). Certain           State and USAID calculate funding “Actuals” by country
accounts are typically allocated by country in this “653(a)        and account and incorporate them into the following year’s
Report,” while other accounts are allocated to central             CBJ (e.g., FY2018 Actuals appear in the FY2020 CBJ).
bureaus to fund responses to emerging events:                      Actuals represent a final plan for allocation, but not
                                                                   necessarily final obligations or disbursements—agencies
 Allocated accounts: Global Health Programs; Economic             may continue to reprogram or transfer funds, particularly
  Support Fund; Assistance to Europe, Eurasia, and Central         because most funds are available beyond that fiscal year.
  Asia; International Narcotics Control and Law                    Authoritative final figures are reported in USAID’s Foreign
  Enforcement; Foreign Military Financing; International           Aid Explorer by the fiscal year of obligation and
  Military Education and Training; Nonproliferation, Anti-         disbursement (FAA Section 634, 22 U.S.C. §2394).
  terrorism, Demining, and Related; Development
  Assistance; Democracy Fund.                                      Issues for Congress
 Situation-responsive accounts: Peacekeeping                      Tracking Funds. No data repository connects funding from
  Operations; Transition Initiatives; Migration and Refugee        each budget stage. Both USAID’s Foreign Aid Explorer
  Assistance; Complex Crisis Fund; United States                   and State’s ForeignAssistance.gov databases focus on
  Emergency Refugee and Migration Assistance Fund;                 obligations and disbursements. Neither connects enacted
  International Disaster Assistance.                               funding to expenditures, presenting difficulties in reviewing
                                                                   adherence to congressional mandates or 653(a) allocations.
Budget Execution
Apportionment (30 days after appropriations enacted, and           Funding Requirements. OUs have expressed concern that
ongoing if changes needed). An “apportionment” is OMB’s            the average of more than 700 annual SFOPS directives in
authorization to the State and USAID budget offices to             recent years may contradict OUs’ expertise or create new
obligate funds (31 U.S.C. § 1512). Apportionments                  burdens for already-constrained administrative staff. Others
typically provide a timetable to obligate funds, often by          have argued that these directives achieve balance between
quarter. This timetable is meant to avoid “deficiencies”—          presidential and congressional authority, with OUs able to
prematurely exhausting funds and thereby requiring                 provide input to Congress as it enacts appropriations.
additional appropriations—and to avert unlawful
“impoundments”—preventing appropriated funds from                  Reporting Delays. State has delivered the 653(a) Report
being spent. These twin requirements aim to set a spending         five months late on average in recent years, and it releases
pace that is neither too fast to cause a shortfall, nor too slow   CBJ country annexes several weeks after the CBJ. The
to prevent expenditure of appropriations before they expire.       Government Accountability Office (GAO) has made and
                                                                   State has concurred with recommendations to resolve such
Allotment and Sub-allotment (following apportionment).             delays, which may impede congressional input in country
Upon apportionment, budget offices manage administering            allocations or lead to congressional funding holds.
bureau requests for “allotments.” Although allotments are
not necessarily statutorily binding, they are roughly              Transparency. While the CBJ is public, the 653(a) Report
analogous to apportionments—they give instructions for             is not. As Congress has appropriated much more SFOPS
administering bureaus about obligating funds. For overseas         funding than requested in recent years, the 653(a) Report
posts, administering bureaus then “sub-allot” funds to OUs.        has become more important in allocation decisions. Despite
                                                                   laws like the Foreign Aid Transparency and Accountability
Transfers and Reprogramming (ongoing). Programmatic                Act of 2016, P.L. 114-191, the greater role of 653(a)
or other changes may prompt agencies to adjust the plans           allocations has reduced transparency for the general public.
described in the CBJ and the 653(a) Report. These changes
may include transfers—a shift of funds across accounts—            Program Planning. Trump Administration budget requests
and reprogramming—redirecting funds within an account.             have regularly proposed 30% less foreign assistance than
                                                                   Congress ultimately has enacted. OUs’ budget plans and
Congressional Notifications (CNs) and Holds (15 days               proposals thus do not align with the funding they ultimately
prior to an action). No less than 15 days prior to obligation      receive. Congress may consider whether to adapt the budget
of certain funds, as well as transfers and reprogramming,          planning process with participatory budgeting approaches
agencies must notify the relevant committees prior to (1)          both to engage appropriators early, as OUs begin
intent to obligate certain funds, and (2) transfers or             developing budgets, and to engage OUs in appropriations
reprogramming (FAA Section 634A, 22 U.S.C. §2394–1).               dialogue, as funding directives are established.
The committees may place a hold to delay obligation and
confer with an agency. This may lead to further                    Apportionment Notifications. OMB’s apportionment
justification, funding adjustments, or reprogramming.              authority has drawn recent controversy. In 2019, security
                                                                   assistance to Ukraine was delayed without a CN. GAO
Obligation and Disbursement (ongoing). After the prior             determined this delay was improper, but OMB disputed that
steps, OUs may contract to spend funds (i.e., “obligate”           opinion. Obligations often require CNs, but decisions not to
funds). Following obligation, agencies may direct the              obligate may not. Congress may consider whether OMB’s
disbursement of funds after receiving goods or services.           interpretation of CN responsibilities align with
                                                                   congressional interests.


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